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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 In re                                           §
                                                 §
                                                                      Chapter 11
 HIGHLAND CAPITAL MANAGEMENT,                    §
 L.P.,                                           §
                                                              Case No. 19-34054-sgj11
                                                 §
         Debtor.                                 §
                                                 §
 HIGHLAND CAPITAL MANAGEMENT,                    §
 L.P.,                                           §
                                                 §
         Plaintiff,                              §
                                                 §
                                                                 Adv. No. 21-03004
 v.                                              §
                                                 §
 HIGHLAND CAPITAL MANAGEMENT                     §
 FUND ADVISORS, L.P.                             §
                                                 §
         Defendant.                              §

                                DEFENDANT’S ORIGINAL ANSWER

         COMES NOW Highland Capital Management Fund Advisors, L.P. (the “Defendant”), the

defendant in the above-styled and numbered adversary proceeding (the “Adversary Proceeding”)

filed by Highland Capital Management, L.P. (the “Plaintiff”), and files this its Defendant’s

Original Answer (the “Answer”), responding to the Complaint for (I) Breach of Contract and (II)



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Turnover of Property of the Debtor’s Estate (the “Complaint”). Where an allegation in the

Complaint is not expressly admitted in this Answer, it is denied.

                                 PRELIMINARY STATEMENT

          1.   The first sentence of ¶ 1 sets forth the Plaintiff’s objective in bringing the Complaint

and does not require a response. To the extent it contains factual allegations, they are denied. The

second sentence contains a legal conclusion that does not require a response. To the extent it

contains factual allegations, they are denied.

          2.   Paragraph 2 contains a summary of the relief the Plaintiff seeks and does not require

a response. To the extent it contains factual allegations, they are denied.

                                 JURISDICTION AND VENUE

          3.   The Defendant admits that this Adversary Proceeding relates to the Plaintiff’s

bankruptcy case but denies any implication that this fact confers Constitutional authority on the

Bankruptcy Case to adjudicate this dispute. Any allegations in ¶ 3 not expressly admitted are

denied.

          4.   The Defendant admits that the Court has statutory (but not Constitutional)

jurisdiction to hear this Adversary Proceeding. Any allegations in ¶ 4 not expressly admitted are

denied.

          5.   The Defendant denies that a breach of contract claim is core. The Defendant denies

that a § 542(b) turnover proceeding is the appropriate mechanism to collect a contested debt. The

Defendant admits that a § 542(b) turnover proceeding is statutorily core but denies that it is

Constitutionally core under Stern v. Marshall. The Defendant does not consent to the Bankruptcy

Court entering final orders or judgment in this Adversary Proceeding. Any allegations in ¶ 5 not

expressly admitted are denied.

          6.   The Defendant admits ¶ 6 of the Complaint.


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                                          THE PARTIES

       7.      The Defendant admits ¶ 7 of the Complaint.

       8.      The Defendant admits ¶ 8 of the Complaint.

                                     CASE BACKGROUND

       9.      The Defendant admits ¶ 9 of the Complaint.

       10.     The Defendant admits ¶ 10 of the Complaint.

       11.     The Defendant admits ¶ 11 of the Complaint.

       12.     The Defendant admits ¶ 12 of the Complaint.

                                    STATEMENT OF FACTS

A.     The HCMFA Notes

       13.     The Defendant admits that it has executed at least one promissory note under which

the Debtor is the payee. Any allegations in ¶ 13 not expressly admitted are denied.

       14.     The Defendant admits ¶ 14 of the Complaint.

       15.     The Defendant admits ¶ 15 of the Complaint.

       16.     The Defendant denies ¶ 16 of the Complaint. The document speaks for itself and

the quote set forth in ¶ 16 is not verbatim.

       17.     The Defendant denies ¶ 17 of the Complaint. The document speaks for itself and

the quote set forth in ¶ 17 is not verbatim.

       18.     The Defendant admits ¶ 18 of the Complaint.

B.     HCMFA’s Default under Each Note

       19.     The Defendant admits that Exhibit 3 to the Complaint (the “Demand Letter”) is a

true and correct copy of what it purports to be and that the document speaks for itself. To the

extent ¶ 19 of the Complaint asserts a legal conclusion, no response is required, and it is denied.

To the extent not expressly admitted, ¶ 19 of the Complaint is denied.


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        20.    To the extent ¶ 20 of the Complaint asserts a legal conclusion, no response is

necessary, and it is denied. The Defendant otherwise admits ¶ 20 of the Complaint.

        21.    The Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations in ¶ 21 of the Complaint and therefore denies the same.

        22.    The Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations in ¶ 22 of the Complaint and therefore denies the same.

        23.    The Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations in ¶ 23 of the Complaint and therefore denies the same.

        24.    The Defendant denies ¶ 24 of the Complaint.

                                 FIRST CLAIM FOR RELIEF
                                   (For Breach of Contract)

        25.    Paragraph 25 of the Complaint is a sentence of incorporation that does not require

a response. All prior denials are incorporated herein by reference.

        26.    Paragraph 26 of the Complaint states a legal conclusion that does not require a

response. To the extent it alleges facts, the Defendant lacks knowledge or information sufficient

to form a belief about the truth of the allegations in ¶ 26 of the Complaint and therefore denies the

same.

        27.    Paragraph 27 of the Complaint states a legal conclusion that does not require a

response. To the extent it alleges facts, the Defendant lacks knowledge or information sufficient

to form a belief about the truth of the allegations in ¶ 27 of the Complaint and therefore denies the

same.

        28.    Paragraph 28 of the Complaint states a legal conclusion that does not require a

response. To the extent it alleges facts, the Defendant lacks knowledge or information sufficient




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to form a belief about the truth of the allegations in ¶ 28 of the Complaint and therefore denies the

same.

        29.    The Defendant denies ¶ 29 of the Complaint.

                              SECOND CLAIM FOR RELIEF
                    (Turnover by HCMFA Pursuant to 11 U.S.C. § 542(b))

        30.    Paragraph 30 of the Complaint is a sentence of incorporation that does not require

a response. All prior denials are incorporated herein by reference.

        31.    Paragraph 31 of the Complaint states a legal conclusion that does not require a

response. To the extent it alleges facts, the Defendant lacks knowledge or information sufficient

to form a belief about the truth of the allegations in ¶ 31 of the Complaint and therefore denies the

same.

        32.    Paragraph 32 of the Complaint states a legal conclusion that does not require a

response. To the extent it alleges facts, the Defendant lacks knowledge or information sufficient

to form a belief about the truth of the allegations in ¶ 32 of the Complaint and therefore denies the

same.

        33.    The Defendant denies ¶ 33 of the Complaint.

        34.    Paragraph 34 of the Complaint states a legal conclusion that does not require a

response. The Defendant admits that the Plaintiff transmitted the Demand Letter. To the extent ¶

34 alleges other facts, the Defendant lacks knowledge or information sufficient to form a belief

about the truth of the allegations in ¶ 34 of the Complaint and therefore denies the same.

        35.    The Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations in ¶ 35 of the Complaint and therefore denies the same.

        36.    Paragraph 36 of the Complaint states a legal conclusion that does not require a

response. To the extent it alleges facts, the Defendant lacks knowledge or information sufficient



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to form a belief about the truth of the allegations in ¶ 36 of the Complaint and therefore denies the

same.

        37.      The Defendant denies that the Plaintiff is entitled to the relief requested in the

prayer, including parts (i), (ii), and (iii).

                                            JURY DEMAND

        38.      The Defendant demands a trial by jury of all issues so triable pursuant to Rule 38

of the Federal Rules of Civil Procedure and Rule 9015 of the Federal Rules of Bankruptcy

Procedure.

        39.      The Defendant does not consent to the Bankruptcy Court conducting a jury trial

and therefore demands a jury trial in the District Court.

                                                PRAYER

        WHEREFORE, PREMISES CONSIDERED, the Defendant respectfully request that,

following a trial on the merits, the Court enter a judgment that the Plaintiff take noting on the

Complaint and provide the Defendant such other relief to which it is entitled.

        RESPECTFULLY SUBMITTED this 1st day of March, 2021.




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                                                   COUNSEL FOR HIGHLAND CAPITAL
                                                   MANAGEMENT FUND ADVISORS,
                                                   L.P.




                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that, on the 1st day of March, 2021, a true and correct
copy of this document was electronically served by the Court’s ECF system on parties entitled to
notice thereof, including counsel for the Plaintiff.

                                                   /s/ Davor Rukavina
                                                      Davor Rukavina, Esq.




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